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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION


CHARLES M. BUTLER,III, and
CHOLE BUTLER                                       Case No. CV 17-50-SPW-TJC


       Plaintiffs,                                           ORDER


V.



UNIFIED LIFE INSURANCE
COMPANY,et al..

       Defendants,

V.



MULTIPLAN,INC.

     Third-Party Defendant.

      Upon Third-Party Defendant and Counterclaimant MultiPlan, Inc.'s

Unopposed Motion for Appearance at Final Approval Hearing by Telephone or

Videoconference(Doc. 422), and for good cause appearing,

      IT IS HEREBY ORDERED that the motion of Multiplan, Inc. for leave of

Court for telephonic or videoconference participation in the November 18, 2021

hearing by Errol King is GRANTED.
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